16-22112-rdd        Doc 2      Filed 01/29/16       Entered 01/29/16 16:22:31     Main Document
                                                   Pg 1 of 10


DELBELLO, DONNELLAN,
WEINGARTEN, WISE & WIEDERKEHR, LLP
Proposed Counsel for the Debtor
One North Lexington Avenue
White Plains, New York 10601
(914) 681-0200
Jonathan S. Pasternak, Esq.
Dawn Kirby, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
In re:

FINGER LAKES CAPITAL PARTNERS, LLC,                                 Chapter 11
                                                                    Case No. 16-22112 (RDD)
                                      Debtor.
----------------------------------------------------------------X

    DECLARATION OF GREGORY SHALOV PURSUANT TO LOCAL RULE 1007-2



          GREGORY SHALOV, being duly sworn, deposes and says:

     1.     I am the managing member of Finger Lakes Capital Partners, LLC (the “Debtor”) and I

submit this declaration pursuant to Rule 1007-2 of the Local Rules for the United States Bankruptcy

Court for the Southern District of New York.

     2.     I have almost twenty years’ experience in the financial industry. In 2003, I formed the

Debtor, an asset management firm, along with my partner and friend V. Zubin Mehta.

     3.     Shortly before the Petition Date, the Debtor was shocked to receive an adverse

decision in a case it commenced against its largest investment partner. Like the seminal Texaco

case, the Debtor needs to protect its otherwise viable business while challenging what it believes

is a decision that is unfounded in the law. The decision purports to modify the relevant operating

agreement between the Debtor’s investment partner and the Debtor by, among other things,

permitting that investment partner to keep the Debtor’s agreed upon share (in excess of $6


                                                        1
16-22112-rdd         Doc 2   Filed 01/29/16    Entered 01/29/16 16:22:31          Main Document
                                              Pg 2 of 10


million) of enormous profits from one investment vehicle (discovered and brought to realization

by the Debtor, myself and Mr. Mehta) and instead to apply the funds to losses that the

investment partner incurred in other, wholly unrelated investment vehicles. This modification is

directly contrary to the clear, unambiguous language of the relevant operating agreement. A

notice of appeal was filed prior to the petition date. The Debtor intends to swiftly and vigorously

prosecute the appeal and emerge from bankruptcy as soon thereafter as possible.

                                      Investment Background

    4.     Between 2004 and 2008 the Debtor partnered with Lyrical Opportunity Partners, L.P.

(“Lyrical”) to invest in five portfolio companies, each operating in different industries. Mr. Mehta

and I identified each opportunity, negotiated the terms, and brought each opportunity to Lyrical. As

is common in our industry, the Debtor managed the portfolio companies, each through a special

purpose vehicle owned by the Debtor and Lyrical. The Debtor received commensurate management

fees and, as is also common in these investment arrangements, received “carried interest”, which in

our industry is a term of art for an equity interest that the manager of an investment receives as

additional compensation for locating and managing the investment.

    5.     A dispute with Lyrical over distribution of more than $30 million in realized profits from

the most lucrative of Debtor sponsored, Lyrical investments is the direct cause of the Debtor’s

chapter 11 filing.

    6.     The Debtor and Lyrical have membership interests in five special purpose vehicle

investment companies, each bearing the name of one of the famous New York Finger Lakes:




                                                   2
16-22112-rdd      Doc 2      Filed 01/29/16    Entered 01/29/16 16:22:31         Main Document
                                              Pg 3 of 10


    Company Invested In                Company’s Operations              Special Purpose Vehicle
                                                                             for Investment
Performance Trailers, Inc.         Designed and manufactured          Canandaigua Lake Acquisition
(“Performance”)                    trailers for recreational boats    LLC

Tiber Industries, Inc.             Manufactured industrial filters    Seneca Lake Acquisition LLC
(“Tiber”)                          and pumps

Portadam, Inc.                     Manufactured cofferdams            Keuka Lake Acquisition LLC
(“Portadam”)                       which are structures that allow
                                   water to be pumped out
                                   creating a dry area for work to
                                   be performed such as building
                                   oil platforms or bridges
Revolabs, Inc.                     Developed and manufactured         Honeoye Lake Acquisition
(“Revolabs”)                       wireless conference phones and     LLC
                                   microphone systems
Rethink Autism, Inc.               Developed online platform to       Owasco Lake Acquisition LLC
(“Rethink”)                        help special needs individuals



Performance, Tiber and Portadam

    7.     In 2004, the Debtor and Lyrical made investments in Performance, Tiber and Portadam.

These three portfolio companies initially struggled. In 2006, we formed Finger Lakes Debt

Partners, LLC (“Debt Partners”) in order to fund, respectively, operating capital to the struggling

Performance, Tiber and Portadam companies. Lyrical and others provided funding to Debt Partners

which in turn made secured loans to those companies, a relatively safer investment than simply

purchasing equity.

    8.     By late 2006, Performance was doing so poorly, it agreed to a “friendly foreclosure”.

    9.     Tiber was adversely effected by the economic crash of 2008, and appears unlikely to

recover or to repay its loans to Debt Partners.

    10.    Portadam was also hit hard by the downturn in the economy, but benefitted from the

fracking boom in 2011 and 2012 and has refinanced the loans to Debt Partners. After the fracking


                                                   3
16-22112-rdd      Doc 2     Filed 01/29/16      Entered 01/29/16 16:22:31           Main Document
                                               Pg 4 of 10


boom, Portadam’s CEO sought to sell the company, but efforts were not successful. Eventually,

Lyrical took control and arranged for an assignment for the benefit of creditors.

Revolabs

    11.    In late 2005, we identified Revolabs as the next investment. Revolabs ultimately proved

to be a “home run”.

    12.    In March 2014, the company was sold resulting in over $31 million net available for

distribution to the Debtor and Lyrical. The Debtor asserted that under the express terms of the

controlling operating agreement between the Debtor and Lyrical, it was entitled to at least $6

million dollars of the available funds. However, Lyrical refused to turn over the funds. By June

2014, the Debtor was forced to sue Lyrical seeking distribution of the proceeds of the sale. The

lawsuit was brought in the Delaware Chancery Court in an action entitled Finger Lakes Capital

Partners, LLC v. Honeoye Lake Acquisition LLC and Lyrical Opportunity Partners, L.P., C.A. No.

9742-VCL (the “Delaware Action”).

    13.    In the Delaware Action, Lyrical counterclaimed, arguing that (a) the gain from the Revo

sale should be reduced by the losses suffered by Lyrical in other Debtor sponsored investments

before a determination of Debtor’s carried interest, pursuant to an alleged prior oral “clawback”

agreement between Debtor and Lyrical; and (b) pursuant to a prior term sheet between the Debtor

and Lyrical, the Debtor owed Lyrical a share of the management fees previously received by it. In

other words, Lyrical argued that the court should look outside the clear and unambiguous terms of

the Revolabs operating agreement entered into between the Debtor and Lyrical to award damages to

Lyrical under the term sheet and to calculate the relevant distribution, despite the fact that the plain

language of the operating agreement makes crystal clear that it supersedes all prior agreements.

Instead, the Court found enforceable both the terms sheet and the alleged prior oral claw back

agreement that modifies the operating agreement by decreasing the amount of Debtor’s carried

                                                    4
16-22112-rdd      Doc 2     Filed 01/29/16      Entered 01/29/16 16:22:31           Main Document
                                               Pg 5 of 10


interest under the operating agreement.

    14.    The Delaware court, after improperly applying the “claw back,” awarded net damages to

Lyrical in the amount of $1,002,903.77 and determined the claw back wiped out the Debtor’s

$6,000,000+ entitlement under the Revolabs operating agreement.

    15.    The Debtor strenuously disagrees with the Delaware court’s decision, has filed a notice of

appeal, and intends to vigorously pursue the appeal during the chapter 11 case. Quite simply put,

the Delaware court was wrong on the law and has ignored one of the most basic concepts of

contract law – extrinsic evidence is inadmissible in interpreting an unambiguous provision of a

written agreement. Further, a provision in an agreement to the effect that the agreement supersedes

all prior agreements and understandings is enforceable as a matter of law, in accordance with its

terms.

    16.    Thus, the Debtor believes it will prevail in its appeal entitling it to over $6 million in

profits from the successful Revolabs investment conceived by the Debtor. Admittedly, the Debtor

is “David” to Lyrical’s “Goliath”, a well-financed investment entity, but at the end of the day the

Debtor believes that the well-established rule of law should prevail.

Rethink

    17.    Finally, in 2008, the Debtor identified Rethink as an attractive investment. Lyrical has

taken control of the investment, as it was entitled to do under the Rethink operating agreement. The

Debtor is hopeful this investment will also yield a positive result, one day entitling the Debtor to

carried interest from this investment.

The Retaliatory Action on a Promissory Note

    18.    In June 2015, a week after the Revolabs trial concluded, Lyrical’s principal Jeffrey

Keswin (“Keswin”) commenced a retaliatory lawsuit against the Debtor, Mr. Mehta and me in

Supreme Court, New York County (the “Retaliatory Action”).

                                                    5
16-22112-rdd       Doc 2    Filed 01/29/16     Entered 01/29/16 16:22:31           Main Document
                                              Pg 6 of 10


    19.     The lawsuit, which was commenced long after the statute of limitations had expired,

seeks payment of $400,000 alleged loaned to Debtor, plus interest thereon, allegedly pursuant to a

2006 demand promissory note that purports on its face to be in the amount of $1,000,000. The

promissory note is signed by Debtor, as Payor, and Zubin Mehta and myself, as guarantors. In the

lawsuit Keswin alleges that the statute of limitation has not run on the alleged 2006 promissory note

because in 2009, a spreadsheet attached to an email was sent by the Debtor to the chief financial

officer of Lyrical, not to Keswin, even though, among other things, the spreadsheet does not

mention the promissory note and states in a footnote that the $400,000 loan will be repaid by us,

personally out of our carried interest, not by the Debtor. Keswin testified that he never read the

footnote.

    20.     I believe the lawsuit was commenced by Keswin, who has all the resources in the world

to pay attorneys, in retaliation for the Debtor suing Lyrical to recover the Debtor’s agreed upon

share of the Revolabs profits. I believe Keswin brought this bogus lawsuit to bury us in legal fees

that we can’t afford.

    21.     It wasn’t until nine years after the 2006 note that on June 17, 2015, Keswin filed a UCC-

1 financing statement alleging he has a security interest in certain misstated assets of the Debtor.

This was obviously done in anticipation of his twisted litigation premise that ignores the fact that the

action is barred by the statute of limitations. Why do I think the UCC-1 financing statement was

nothing but a litigation strategy? Because it took nine years to file the UCC-1, but only seven days

before the complaint in the Retaliatory Action was filed.

    22.     Initially, the New York court stayed the Retaliatory Action pending the outcome of the

related Revolabs case pending in Delaware. The Delaware court subsequently declined to

adjudicate the alleged note dispute, deferring to the New York court.

    23.     On December 2, 2015, the New York court heard arguments on Keswin’s motion for

                                                   6
16-22112-rdd       Doc 2    Filed 01/29/16     Entered 01/29/16 16:22:31           Main Document
                                              Pg 7 of 10


summary judgment and the defendants’ cross-motion for summary judgment. Keswin’s motion was

denied outright upon a finding that “at a minimum there are issues of fact which preclude granting

summary judgment in lieu of complaint”. The Defendants’ motion was denied “without prejudice

to renewal because there are issues of fact with respect to the statute of limitations defense”.

    24.    The Debtor will seek to dispose of the Retaliatory Action claim in the context of its

chapter 11 case.

                                  Purpose of the Chapter 11 Filing

    25.    The Debtor’s litigation counsel believes there are substantial grounds to appeal and

reverse the Revolabs decision in the Delaware Action.

    26.    The Debtor will continue to operate and pay its expenses from funds on hand.

    27.    The Debtor’s creditors, mostly incurred due to Lyrical’s litigation and related actions

consist of professionals, credit card companies, family members and other investors. The Debtor

believes its needs and interests will best be served by the continued possession of its property and

management of its affairs as debtor-in-possession under Chapter 11 until confirmation of a

reorganization plan.

          INFORMATION REQUIRED BY LOCAL BANKRUTPCY RULE 1007

    28.    In addition to the foregoing, Local Bankruptcy Rule 1007-2 requires certain

information related to the Debtor, which is set forth below.

Local Rule 1007-2(a)(1)

    29.    The Debtor is located at 168a Irving Avenue, Port Chester, New York 10573.

Local Rule 1007-2(a)(2)

    30.    This case was not originally commenced under Chapter 7 or 13 of title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq., as amended by the Bankruptcy Abuse Prevention and

Consumer Protection Act of 2005.

                                                   7
16-22112-rdd      Doc 2    Filed 01/29/16    Entered 01/29/16 16:22:31       Main Document
                                            Pg 8 of 10


Local Rule 1007-2(a)(3)

    31.   Upon information and belief, no committee was organized prior to the order for relief

in this Chapter 11 case.

Local Rule 1007-2(a)(4)

    32.   A list of the names and addresses of the Debtor’s 20 largest unsecured claims,

excluding those who would not be entitled to vote at a creditors' meeting and creditors who are

“insiders” as that term is defined in 11 U.S.C. Section 101(31) is annexed hereto as Exhibit A.

Local Rule 1007-2(a)(5)

    33.   The Debtor has one disputed secured creditor and two undisputed secured creditors:

       Disputed
       Jeffrey Keswin
       500 West End Avenue, #6A
       New York, New York 10024
       UCC Filed: June 17, 2015
       $400,000

       Undisputed

       Barry Shalov and Joan Shalov
       9 Hobart Lane
       Westhampton Beach, NY 11978
       UCC Filed: July 21, 2015
       $1,916,956.08

       Dr. Jagat Mehta
       12 Chelsea Park
       Pittsfield, NY 14534
       UCC Filed: August 14, 2015
       $549,898.05


Local Rule 1007-2(a)(6)

    34.   A balance sheet will be filed separately.

Local Rule 1007-2(a)(7)


                                                8
16-22112-rdd      Doc 2    Filed 01/29/16     Entered 01/29/16 16:22:31        Main Document
                                             Pg 9 of 10


    35.   There are no publicly held securities of the Debtor.

Local Rule 1007-2(a)(8)

    36.   None of the Debtor’s property is in the possession of any custodian, public officer,

mortgagee, pledge, assignee of rents, or secured creditor, or any agent for such entity.

Local Rule 1007-2(a)(9)

    37.   The Debtor leases offices at 168a Irving Avenue, Port Chester, New York 10573

pursuant to a written lease agreement commencing February 18, 2014 and ending April 30, 2021.

Local Rule 1007-2(a)(10)

    38.   The Debtor’s assets and records are located at its principal place of business at 168a

Irving Avenue, Port Chester, New York 10573.

Local Rule 1007-2(a)(11)

    39.   The Debtor is a party to three civil actions:

       Finger Lakes Capital Partners, LLCv. Honeoye Lake Acquisition LLC and
       Lyrical Opportunity Partners, L.P., Court of Chancery, the State of Delaware,
       Index No. 9742-VCL

       Jeffrey Keswin v. Finger Lakes Capital Partners, LLC, V. Zubin Mehta and
       Gregory Shalov, Supreme Court, New York County, Index No. 156356/2015

       Whitten v. Finger Lakes Capital Partners, LLC, et al., Circuit Court of the
       Eighteenth Judicial Circuit, Brevard County, Florida, Case No. 05-2008-CA-
       38644


Local Rule 1007-2(a)(12)

    40.   The Debtor’s senior management consists of Gregory Shalov, manager, and V. Zubin

Mehta, manager.

Local Rule 1007-2(b)(1) and (2)

    41.   The Debtor’s estimated monthly payroll to employees for the thirty (30) day period

following the Chapter 11 petition is zero ($-0-)

                                                   9
16-22112-rdd        Doc 2   Filed 01/29/16    Entered 01/29/16 16:22:31        Main Document
                                             Pg 10 of 10


    42.   The Debtor’s estimated monthly payroll and payments to officers, stockholders, and

directors for the thirty (30) day period following the Chapter 11 petition is $3,980 in the form of

expense reimbursement.

Local Rule 1007-2(b)(3)

    43.   The Debtor estimates that it will operate at a loss in the 30 day period following the

filing of the chapter 11 petition. A 30-day budget is attached as Exhibit B.

                                        CONCLUSION

       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct.

                                                     /s/ Gregory Shalov
                                               By: ___________________________
                                                     Gregory Shalov, Manager




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